                Case 5:19-cv-00109-LGW-BWC Document 160 Filed 03/30/22 Page 1 of 1
                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
                                      CLERKS MINUTES - CIVIL


CASE NO.         519cv109                                             DATE:         3/30/2022
TITLE:       Brantley County Development Partners, LLC v. Brantley County, Georgia, et al.


HONORABLE BENJAMIN W. CHEESBRO COURTROOM DEPUTY CLERK: KIM MIXON
COURT REPORTER:
TAPE NO.         BWC-                TIME:       3:00-3:13               TOTAL:        13 minutes
                 CHAMBERS
COUNSEL FOR PLAINTIFF                  COUNSEL FOR                        DEFENDANT
Kyler Wise                             Dana Maine                         Brantley County, Georgia, et al.
Mark Johnson                           Rachael Slimmon

Telephonic status call held. Court reviews procedural history of case. Discovery and deadlines have
been stayed since October.
Court hears from parties as to schedule.
Plaintiff (Mark Johnson)-Motion for Summary Judgment filed on behalf of Plaintiff is pending.
Plaintiff does not anticipate needing further briefing or additional discovery. Motion is ripe and ready to
be heard. At this time, Plaintiff does not anticipate filing any motions in limine.
Defense (Dana Maine)-would like additional time to discuss and confer on discovery and schedule.
Court will set matter down for telephonic status call in 7 to 14 days to take up these issues.
